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   11                         UNITED STATES DISTRICT COURT

   12                       CENTRAL DISTRICT OF CALIFORNIA

   13
        DENIECE WAIDHOFER, an individual;              Case No. 2:20-cv-06979
   14   MARGARET MCGEHEE, an individual;
   15   and RYUU LAVITZ, LLC, a                        DECLARATION OF BRETT S.
        Massachusetts limited liability company;       ROSENTHAL IN SUPPORT OF
   16                                                  PLAINTIFFS’ PORTION OF
   17                                 Plaintiffs,      JOINT STIPULATION
        v.                                             REGARDING DISCOVERY TO
   18                                                  MULTI MEDIA LLC
   19   CLOUDFLARE, INC., a Delaware
        corporation; BANGBROS.COM, INC., a
   20   Florida corporation; SONESTA
   21   TECHNOLOGIES, INC., a Florida
        corporation; MULTI MEDIA LLC, a
   22   California limited liability company;
   23   CRAKMEDIA INC., a Canadian
        corporation; and JOHN DOES 1-21, as-yet
   24   unidentified individuals,
   25
                                    Defendants.
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    1           I, Brett S. Rosenthal, am over the age of 18 and competent to give this
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        declaration. I submit this declaration freely and voluntarily.
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    4           1.   I am lead counsel for the Plaintiffs in the above case.

    5           2.   Exhibit A to this declaration is a true and correct copy of the first set of
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        requests for production (“RFPs”) that my firm served on Defendant Multi Media
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    8   LLC (“Multi Media”) in this case, which were served on October 15, 2020.

    9           3.   Exhibit B to this declaration is a true and correct copy of Multi Media’s
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        responses and objections to the first RFPs, which were served on November 16,
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   12   2020.

   13           4.   Exhibit C to this declaration is a true and correct copy of the letter that
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        was delivered to Multi Media’s counsel on December 14, 2020 regarding
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   16   deficiencies in its discovery responses, in accordance with Local Rule 37-2. The
   17   letter also addresses deficiencies in Defendant BangBros, Inc.’s (“BangBros”)
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        discovery responses because it was represented by the same counsel. However,
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   20   BangBros is no longer a party in this case.
   21           5.   Exhibit D to this declaration is a true and correct copy of email
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        correspondence from December 23, 2020 between Plaintiffs’ counsel and Multi
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   24   Media’s counsel.
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                6.   Exhibit E to this declaration is a true and correct copy of the amended
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        complaint in this action (Dkt 68).
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    1         7.     Exhibit F to this declaration is a true and correct copy of the scheduling
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        order entered in this action (Dkt 90).
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    4         8.     Exhibit G to this declaration is a true and correct copy of the Stipulated

    5   Protocol for Producing Documents and ESI in this action (Dkt 96).
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              9.     Exhibit H to this declaration is a true and correct copy of the stipulated
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    8   protective order entered in this action (Dkt 100).

    9         10.    On December 23, I participated in a telephone conference with ulti
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        Media’s counsel regarding discovery issues raised in Plaintiffs’ deficiency letter, in
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   12   accordance with Local Rule 37-2. At the end of that conference, my co-counsel Mr.

   13   Gallagher (who has since left my firm and withdrawn from this case) sent the email
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        noted above (Exhibit D) to memorialize Plaintiffs’ agreements to clarify certain
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   16   requests that Multi Meida had raised concerns about.
   17         11.    Subsequently, I have conferred by phone with Multi Media’s counsel
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        on multiple occasions regarding the discovery requests, including on February 5 and
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   20   February 11. Multi Media’s counsel has indicated that Multi Media will not produce
   21   responsive documents unless and until Plaintiffs agree to a search protocol that limits
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        Multi Media’s search to certain custodians and search terms. Although I agreed to
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   24   discuss a search protocol for RFP No. 8 as a gesture of good faith, I explained to
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        Multi Media’s counsel that I had not seen any evidence that a search protocol was
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        needed to avoid an undue burden for any of the requests. Furthermore, I explained
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   28   that Plaintiffs do not have insight into Multi Media’s document-management


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    1   systems, custodians, and nomenclature to be able to agree to a search protocol.
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        Finally, I explained that most of the requests are, in my opinion, not amenable to a
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    4   search protocol because they seek well-defined items such as all documents that

    5   contain the term “Thothub,” all records regarding commissions paid to Thothub, and
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        all communications with Multi Media’s alleged agent, CrakRevenue.
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    8         12.   As of this writing (i.e., February 11, 2021), Multi Media has not

    9   produced any documents in this case.
   10
              13.   I swear under penalty of perjury that this information is true and correct
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   12   to the best of my knowledge, information, and belief.

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        Executed by me this 11th day of February, 2021.
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   20                                          Brett S. Rosenthal
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